                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )         No. 3:12-00013
                                                 )         JUDGE CAMPBELL
MANILA VICHITVONGSA                              )

                                               ORDER

       Pending before the Court is Defendant Vichitvongsa’s Motion For Extension Of Time In

Which To File Case Specific Jury Instructions, Verdict Forms And Motions In Limine (Docket

No. 286). Through the Motion, Defendant Vichitvongsa requests an extension of time for filing

proposed jury instructions and verdict forms, as well as motions in limine because counsel has

been out of the office following a death in his family.

       The Motion is GRANTED as to Defendant Vichitvongsa only. Accordingly, Defendant

Vichitvongsa shall have until December 17, 2012 in which to file proposed jury instructions and

verdict forms, as well as motions in limine.

       The Motion is GRANTED.

       It is so ORDERED.



                                                      _________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00013         Document 287        Filed 12/10/12   Page 1 of 1 PageID #: 762
